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Attorneys for Defendant Preferred
Contractors Insurance Company


                                      UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                           PORTLAND DIVISION

HOSPITALITY MANAGEMENT, INC., an                           NO. _______________
Oregon corporation,
                                                           NOTICE OF REMOVAL
                                 Plaintiff,
                                                           (From The Circuit Court Of The State
vs.                                                        Of Oregon For The County Of
                                                           Washington, Cause No. 18CV04648
PREFERRED CONTRACTORS
INSURANCE COMPANY, a Montana
corporation

                                 Defendant.

TO:                   The Judges and Clerk of the United States District Court for the District of
                      Oregon, Portland Division;
AND TO:               Plaintiff Hospitality Management, Inc.;

AND TO:               Michael E. Farnell, Kristopher L. Kolta, and Parsons Farnell & Grein LLP,
                      plaintiff’s attorneys.
           Defendant Preferred Contractors Insurance Company (“PCIC”) hereby gives notice that

this action is removed to the United States District Court for the District of Oregon, Portland

Division from the Circuit Court of the State of Oregon for the County of Washington. Pursuant

to 28 U.S.C. § 1441, PCIC further states as follows:




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           1.         Pursuant to LCR 3-2(a)(1), this matter is being removed to the United States

District Court for the District of Oregon, Portland Division because plaintiff’s Complaint was

filed in the Circuit Court of the State of Oregon for the County of Washington.

           2.         State Court Action: PCIC is a defendant in a civil action filed in the Circuit

Court of the State of Oregon for the County of Washington titled Hospitality Management, Inc.

v. Preferred Contractors Insurance Company, Cause No. 18CV04648 (the “State Court

Action”).

           3.         Commencement of State Court Action: The State Court Action was

commenced when plaintiff’s Summons and Complaint were filed with the clerk of Circuit

Court of the State of Oregon for the County of Washington on or about February 7, 2018.

Service of the Summons and Complaint was effected on PCIC on or about February 12, 2018.

This Notice of Removal is timely in that it is being filed within thirty (30) days of service of the

Complaint upon PCIC.

           4.         Record in State Court: The following pleadings constitute all of the process,

pleadings and orders received by PCIC in this action up to the present time:

                               Summons;
                               Complaint (Breach of Contract);
                               Proof of Service.
           5.         A true and correct copy of plaintiff’s Complaint is attached hereto as Exhibit 1.

True and correct copies of the above pleadings are attached to the Declaration of Jeremy R.

Schulze Regarding Records and Proceedings in State Court as Exhibit A.

           6.         Diversity of Citizenship is Basis for Federal Court Jurisdiction: This dispute

between plaintiff and PCIC is a controversy between citizens of different states.

           7.         Plaintiff is incorporated under the laws of the State of Oregon and at all times

material hereto conducted business and maintained its principal places of business in

Washington County, Oregon.

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           8.         PCIC is, and at all material times has been, incorporated under the laws of

Montana, with its principal place of business in Yellowstone County, Montana.

           9.         Complete diversity exists between plaintiff and PCIC.

           10.        Nature and Description of Case: The above-entitled action is a civil action for

breach of contract.

           11.        Amount in Controversy: The amount in controversy is not expressly set forth

in plaintiff’s Complaint. However, PCIC believes, and therefore alleges, that the monetary

value relief plaintiff seeks in this action exceeds $75,000, for the following reasons:

                      a.         plaintiff seeks a judgment against PCIC for HMI’s actual damages and

prejudgment interest in a specified amount to be established at hearing or trial exceeding

$2,500,000 as a result of PCIC’s breach of its contractual duty to indemnify;

                      b.         an award of plaintiff’s reasonable attorney fees under ORS 742.061;

                      c.         an award of plaintiff’s costs and disbursements; and

                      d.         an award of plaintiff’s pre- and post-judgment interest.

Plaintiff’s Complaint, p. 5, ll. 17-25.

           12.        Taking all these factors into consideration, PCIC reasonably believes plaintiff

seeks damages and other recoveries counting toward the jurisdictional minimum, aggregating

well in excess of $75,000.

           13.        Applicable Statutes: This is a civil action over which this Court has original

jurisdiction pursuant to 28 U.S.C. § 1332, and the action is removable pursuant to 28 U.S.C.

§ 1441(b).

           14.        Concurrent Notice to State Court: PCIC is concurrently filing a copy of this

Notice of Removal with the Clerk of the Circuit Court of the State of Oregon for the County of

Washington, pursuant to 28 U.S.C. § 1446(d).




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           DATED this 14th day of March, 2018.

                                            BETTS, PATTERSON & MINES, P.S.


                                            By /s Jeremy R. Schulze
                                                 Jeremy R. Schulze, OSB#160528
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                                            Insurance Company




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                                     CERTIFICATE OF SERVICE
           I hereby certify that on March 14, 2018, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system and the document is available for

viewing and downloading from the CM/ECF system. I also certify that the foregoing document

is being served electronically via the Court’s CM/ECF notice system upon the following

counsel of record:

                      Counsel for Plaintiff:
                      Michael E. Farnell
                      Kristopher L. Kolta
                      Parsons Farnell & Grein, LLP
                      1030 SW Morrison Street
                      Portland, OR 97205-2626
           DATED this 14th day of March, 2018.

                                                        BETTS, PATTERSON & MINES P.S.


                                                        By /s Jeremy R. Schulze
                                                           Jeremy R. Schulze, OSB#160528
                                                        Betts, Patterson & Mines, P.S.
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                                                        Contractors Insurance Company




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